 T.G., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: S.Z.S., and Concerning T.Z.D. M. No. 22SC946Supreme Court of Colorado, En BancJanuary 23, 2023
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA305
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
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